Case 21-32261 Document 40-1 Filed in TXSB on 07/26/21 Page 1 of 2




                    EXHIBIT A
                       Proposed Order
         Case 21-32261 Document 40-1 Filed in TXSB on 07/26/21 Page 2 of 2




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

In re:                              )             Chapter 11
                                    )
KORNBLUTH TEXAS, LLC,               )             Case No. 21-32261 (CML)
                                    )
Debtor.                             )             Re: Docket No. 3
____________________________________)

               [PROPOSED] ORDER DENYING DEBTOR’S EMERGENCY
               MOTION FOR AUTHORITY TO USE CASH COLLATERAL

         The Court, having considered the Debtor’s Emergency Motion for Authority to Use Cash

Collateral [Docket No. 3] (the “Motion”) and the responses thereto, hereby ORDERS as follows:

         1.    The Motion is DENIED.

         2.    The Debtor shall segregate Cash Collateral for distribution to WFCM 2016-LC25

West Bay Area Boulevard, LLC.



 Signed: __________________, 2021                 __________________________________
                                                  HONORABLE CHRISTOPHER LOPEZ
                                                 UNITED STATES BANKRUPTCY JUDGE
